                Case 3:21-md-02981-JD Document 803-1 Filed 11/15/23 Page 1 of 3
                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Cases: 3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
       21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                   PLAINTIFF’S ATTORNEY:                DEFENSE ATTORNEY:
 Hon. James Donato                        Lauren Moskowitz,                    Lauren Bell, Jonathan Kravis,
                                          Yonatan Even, Gary Bornstein,        Michelle Chiu, Brian Rocca,
                                          Brent Byars, Andrew Wiktor           Kuru Olasa, Kyle Mach,
                                                                               Justin Raphael, Glenn Pomerantz,
                                                                               Nick Sidney
 JURY TRIAL DATE:                         REPORTER(S):                         CLERK:
 11/15/2023                               Kelly Shainline                      Lisa R. Clark

 PLF      DEF TIME
 NO.      NO. OFFERED ID REC DESCRIPTION                                                                   BY
              9:21 am        Court in session; out of the presence of the jury.
                 9:35 am                     Court in session; all parties and jury present.
                 9:37 am                     Plaintiff calls Kirsten Rasanen -- direct examination.
 1436                           X    X       Undated Play Console help page titled "Payments"              LRC
                                             Witness shown Demonstrative 1
                                             Email from K. Rasanen to P. Feng re Prep Doc for Spotify
 1442                           X    X                                                                     LRC
                                             Meeting (11/27/2017)
                                             Witness shown exhibit 704
 8582                           X            No description provided
                                             Witness shown exhibit 704
 8574                           X    X       No description provided                                       LRC
 5820                           X    X       Email re Play Payment Policy -- Carrier Plan.                 LRC
 8539                           X    X       No description provided                                       LRC
                                             Email from K. Rasanen to J. Rosenberg et al re GPB
 1440                           X    X                                                                     LRC
                                             Grandfathering Discussions Update (02/07/2018)
 1417                           X    X       10/17/2017 email from K. Rasanen to S. Samat                  LRC
 8554                           X    X       No description provided                                       LRC
                                             Witness shown exhibit 8555
 8555                           X    X       No description provided                                       LRC
 8573                           X    X       No description provided                                       LRC
                                             Presentation titled, "Compute - Playform & Ecosystem -
 436                            X    X                                                                     LRC
                                             Devices & Services - Board of Directors Update"
 290                            X    X       Pixel Switching Study Presentation (01/18/2017)               LRC
                                             Witness shown exhibit 436
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PLF     DEF TIME
NO.     NO. OFFERED ID REC DESCRIPTION                                                             BY
                           Slide deck titled, "Android Consideration: Likely
1766                X X                                                                            LRC
                           Purchasers and Recent Purchasers"
1768                X X    Slide deck titled, "Android Brand Health" (09/08/2020)                  LRC
1764                     X   X     Excel workbook titled, "30(b)(6)" (2/12/2020)                   LRC
             10:45 am              Jury in recess.
             10:52 am              Court in recess
                                   Court in session; all parties and jury present. Cont’d direct
             11:06 am
                                   examination of Kirsten Rasanen.
                                   Witness shown exhibits 1764, 1766
11409                    X   X     Charts Used by Plaintiff re: Kirsten Rasanen                    LRC
             11:11 am              Cross-examination of Kirsten Rasanen
                                   Witness shown exhibits 8573, 1436, 704
5973                     X   X     6/20/2018 Email from S. Karam to P. Kochikar                    LRC
                                   Witness shown exhibits 1766, 1768, 1764
             11:58 am              Re-direct of Kirsten Rasanen
                                   Witness shown exhibits 1766, 1768
                                   Email from K. Rasanen to J. Rosenberg re (For Your
1438                     X   X                                                                     LRC
                                   Preview) Policy Update Open Questions (09/18/2017)
                                   Witness shown exhibit 5973
8033                     X   X     No description provided                                         LRC
                                   Witness shown exhibit 8573
             12:19 pm              Re-cross by defendant
             12:20 pm              Court in recess
             1:01 pm               Plaintiff calls David Kleidermacher -- direct examination.
                                   Witness shown Demonstrative #10
                                   Messages between E. Liderman to D. Kleidermacher
768                      X   X                                                                     LRC
                                   (09/25/2020)
8591                     X   X     No description provided                                         LRC
                                   Email from J. Woloz to B. Bilodeau et al. re Request for
1172                     X   X                                                                     LRC
                                   Fortnite Signing keys (08/11/2018)
                                   Witness shown exhibit 761
122                      X   X     Fortnite Task Force (08/06/2018)                                LRC
752                      X   X     8/15/2018 email from D. Kleidermacher to W. Luh                 LRC
8576                     X   X     No description provided                                         LRC
                                   Witness shown exhibit 122
             2:15 pm               Court in recess
                                   Court in session; all parties and jury present. Cont’d direct
             2:35 pm
                                   examination of David Kleidermacher.
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PLF    DEF TIME
NO.    NO. OFFERED ID REC DESCRIPTION                                                          BY
           2:37 pm        Cross-examination of David Kleidermacher
                                   Witness shown exhibit 122
                                   Undated presentation titled "Android Feature Audit" p. 46
       5945              X   X                                                                 LRC
                                   only
9051                     X   X     Video                                                       LRC
9052                     X   X     Video
9053                     X   X     Video
              3:15 pm              Re-direct of David Kleidermacher
                                   Witness shown demonstrative and exhibits 905, 5945, 8576
                                   Article titled "Man-in-the-Disk: A New Attack Surface for
                                   Android Apps," from
8009                     X   X                                                                 LRC
                                   https://blog.checkpoint.com/security/man-in-the-disk-a-
                                   new-attack-surface-for-android-apps/
              3:28 pm              Jury at recess
              3:33 pm              Court in recess
                                   Plaintiff has 1140 minutes left.
                                   Defendant has 1836 minutes left.




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